                 Case 12-81464      Doc 19     Filed 05/02/13    Page 1 of 3
                   UNITED STATES BANKRUPTY COURT FOR THE
                     MIDDLE DISTRICT OF NORTH CAROLINA
                              DURHAM DIVISION

In Re:                                     )
                                           )
Warren Kenneth Earles,                     )              Case No.: B-12-81464 C-13D
Dedrah Duff Earles,                        )
      Debtors


            MOTION FOR AUTHORITY TO EMPLOY SPECIAL COUNSEL

    The Debtors, by and through counsel, pursuant to 11 USC 330, respectfully request the Court
for authority to employ attorney Suzanne Begnoche to file and settle a case against NCO
Financial Systems, Inc. (hereinafter “NCO”) for violation of credit collection laws, and in
support respectfully show unto the Court the following:

   1.     On November 16, 2012, the Debtors filed a petition for relief under Title 11 U.S.C.
          Chapter 13.

   2.     The plan was confirmed on January 10, 2013.

   3.     The Debtors owe and listed on Schedule F a pre-petition commercial debt to Capital
          One, N.A.

   4.     During the collection of the debt, collection laws were violated by NCO Financial
          Systems, Inc. (hereinafter “NCO”) as agent of Capital One, N.A.

   5.     The Debtors have consulted with Chapel Hill attorney Suzanne Begnoche, a
          disinterested party and attorney in good standing with the N.C. State Bar and Middle
          District of N.C., regarding the claim against NCO.

   6.     Ms. Begnoche believes that the Debtors have claims against NCO for unfair debt
          collection practices under the North Carolina Prohibited Practices by Collection
          Agencies statute (“PPCA”), N.C.G.S. § 58-70-90, et seq., which governs the conduct
          of collection agencies in North Carolina.

   7.     The PPCA provides for actual, statutory, and punitive damages, and attorneys for
          claimants may be awarded fees pursuant to N.C.G.S. § 75-16.1.


   8.     The Debtors desire to employ Ms. Begnoche to pursue these claims.
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9.        Virginia B. Collins, the Debtors’ Chapter 13 attorney, has incurred additional
          expenses in the gathering of information, preparation, and filing of this motion and
          for attendance at the hearing and seeks the presumptive fee of $250 to be paid
          through the Chapter 13 Plan.



WHEREFORE, the Debtors respectfully pray the Court:

     1.   For authority to employ attorney Suzanne Begnoche.

     2. For $250 in attorney fees to Debtors’ counsel for the filing of this motion; and

     3. For such other and further relief as is just.




This the 2nd day of May 2013.
                                                    /s/ Virginia B. Collins
                                                    Attorney for Debtors
                                                    NC State Bar No.: 19886
                                                    P.O. Box 1059
                                                    Pittsboro, NC 27312
                                                    (919)542-6154
                                                    vcollinslaw@mindspring.com
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In Re:                                  )
                                        )
Warren Kenneth Earles,                  )             Case No.: B-12-81464 C-13D
Dedrah Duff Earles,                     )
      Debtors



                               CERTIFICATE OF SERVICE


      THIS IS TO CERTIFY that the undersigned has this date served, electronically or by
   regular first class mail, the foregoing MOTION TO EMPLOY SPECIAL COUNSEL to
   the following parties of interest:

   Richard M Hutson II
   Chapter 13 Trustee
   Durham Division
   P O Box 3613
   Durham NC 27702-3613

   Suzanne Begnoche
   Attorney at Law
   312 West Franklin Street
   Chapel Hill, NC 27516

   William Miller
   Bankruptcy Administrator
   PO Box 1828
   Greensboro, NC 27402

   Warren Kenneth Earles
   Dedrah Duff Earles
   329 Plainfield Church Rd
   Siler City, NC 27344



   This the 2nd day of May 2013.

                                               /s/ Virginia B. Collins
                                               Attorney for Debtors
                                               NC State Bar No.: 19886
                                               P.O. Box 1059
                                               Pittsboro, NC 27312
                                               (919)542-6154
                                               vcollinslaw@mindspring.com
